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                             Exhibit A
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


 ELECTRONIC PRIVACY INFORMATION
 CENTER, et al.,


                    Plaintiffs,
                                                       Civil No. 1:25-cv-255-RDA-WBP
         v.

 U.S. OFFICE OF PERSONNEL MANAGEMENT,
 et al.,


                    Defendants.



         I, Thomas H. Krause, Jr., declare under penalty of perjury:

  1. I am employed as the Senior Advisor for Technology and Modernization at the Department

     of the Treasury. I started serving in this role on January 23, 2025. This role is currently

     unpaid, and I am not seeking compensation, as permissible by law. I am also designated as a

     Special Government Employee (SGE). While in this Treasury role, I have also maintained

     my employment as Chief Executive Officer (CEO) of Cloud Software Group, Inc., which is a

     privately held company comprised of several enterprise software businesses. Treasury’s

     ethics office determined, based on my role as an SGE, that this arrangement was permissible.

     In addition to serving as Senior Advisor for Technology and Modernization, as of February

     13, 2025, I am also performing the duties of the Fiscal Assistant Secretary.

  2. My role at Treasury as Senior Advisor for Technology and Modernization was created to help

     effectuate the mission of the President’s Department of Government Efficiency (DOGE).

     Under the President’s January 20, 2025 Executive Order establishing the U.S. DOGE Service

     (USDS/DOGE) as a temporary organization within the Executive Office of the President that
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        seeks to maximize governmental efficiency and productivity, the President directed each

        Agency Head to establish a DOGE team of at least four employees, which may include

        Special Government Employees, within 30 days. In this role, I am responsible, among other

        duties, for reducing and eliminating improper and fraudulent payments; waste, fraud, and

        abuse; and improving the accuracy of financial reporting. To that end, I am focused on

        improving the controls, processes, and systems that facilitate payments and enable

        consolidated financial reporting. I serve as the DOGE team lead for the Treasury Department

        (Treasury DOGE Team).

     3. Currently, I am the only Treasury DOGE team member. A second Treasury DOGE team

        member, Marko Elez, began working at the Treasury Department on January 21, 2025, but

        resigned from his role on February 6, 2025. Marko Elez is a highly qualified software

        engineer who previously worked at several of Elon Musk’s companies, including SpaceX and

        X (formerly Twitter). In January, USDS/DOGE recommended to me, and to incoming

        Treasury leadership, that Mr. Elez be selected as the Treasury DOGE Team’s technical team

        member. Treasury hired Mr. Elez as a Special Advisor for Information Technology and

        Management. In this role, Mr. Elez was a Treasury employee tasked with working closely

        with engineers at the Bureau of the Fiscal Service (BFS) on information technology (IT)

        matters in service of BFS’s mission to promote financial integrity and operational efficiency

        of the federal government through accounting, financing, collection, payment, and other

        relevant BFS services. On February 6, 2025, Mr. Elez submitted his resignation from this

        role. 1 On that same day, he turned in his Treasury laptop, BFS laptop, access card, and other




 1
  Treasury is seeking to hire a new candidate to fill Mr. Elez’s previous role. However, we will ensure that any such
 new hire complies with relevant court orders, including any TROs to the extent they apply when that person is
 onboarded.
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     government devices; his BFS systems access was terminated; and he has not conducted any

     work related to the BFS payment systems since that date.

  4. Although I coordinate with officials at USDS/DOGE, provide them with regular updates on

     the team’s progress, and receive high-level policy direction from them, I am not an employee

     of USDS/DOGE. My role on the Treasury DOGE Team is to find ways to use technology to

     make the Treasury Department more effective, more efficient, and more responsive to the

     policy goals of this Administration.

  5. In my role performing the duties of the Fiscal Assistant Secretary, I am the official primarily

     responsible for overseeing the activities of the Bureau of the Fiscal Service (BFS), which

     manages the government’s accounting, central payment systems, and public debt, among

     other tasks, and which serves as the central payment clearinghouse for all payments to and

     from federal agencies. BFS is responsible for disbursing the majority of U.S. Government

     payments, valued at more than $5 trillion annually.

  6. I bring to my work at Treasury a wealth of experience from my long and successful business

     career in the technology industry, helping make major software enterprises more efficient,

     effective, innovative, and profitable. As noted above, I am currently the CEO of Cloud

     Software Group, one of the largest privately held enterprise software companies globally.

     Over the last two years, we have dramatically improved the company’s effectiveness and

     efficiency by, among other things, improving our business processes and integrating and

     modernizing our technology systems. Prior to my employment at Cloud Software Group, I

     spent over a decade at Broadcom, where I was an executive officer serving as CFO and most

     recently as President of Broadcom Software. Broadcom is one of the most valuable

     companies in the world today and was built largely by acquiring underperforming



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        semiconductor and enterprise software businesses and improving their effectiveness and

        efficiency. I am proud of this work, and I bring this focus on effectiveness and efficiency to

        my work for the Treasury Department and in service of the President’s DOGE mission, to

        help maximize value for the American taxpayer and make our Government better for future

        generations.

     7. As illustrated by several reports released by the Government Accountability Office (GAO),

        we have our work cut out for us. On January 16, 2025, GAO released a report entitled

        “Financial Audit: FY2024 and FY2023 Consolidated Financial Statements of the U.S.

        Government.” In the report, GAO summarizes that they were not able to determine if the

        Financial Report of the U.S. Government is fairly presented. Among other reasons, GAO

        highlighted “problems in accounting for transactions between federal agencies.” GAO found

        many material weaknesses including “the federal government’s inability to determine the full

        extent to which improper payments, including fraud, occur and reasonably assure that

        appropriate actions are taken to reduce them.” GAO also reported that Treasury and Office of

        Management and Budget (OMB) officials expressed their continuing commitment to

        addressing the problems this report outlines. In short, the GAO report identifies the Federal

        government’s inability to account for all of the improper payments including waste, fraud and

        abuse across federal agencies.

     8. On September 10, 2024, the GAO released a report entitled “Payment Integrity: Significant

        Improvements are Needed to Address Improper Payments and Fraud.” The report found that

        since 2003, cumulative improper payments 2 by executive branch agencies have totaled about




 2
  Improper payments and fraudulent payments are related but distinct concepts. An improper payment is a payment that
 should not have been made, or that was made with an incorrect amount; fraudulent payments occur due to willful
 misrepresentation. All fraudulent payments are improper, but not all improper payments are fraudulent.
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     $2.7 trillion dollars. Some of GAO’s top concerns included fraudulent or improper Earned

     Income Tax Credit refunds, Social Security payments, unemployment insurance payments,

     and Medicare and Medicaid payments. In fiscal year 2023 alone, federal agencies estimated

     $236 billion in improper payments across more than 70 federal programs. In addition, GAO

     estimated that the total annual financial losses across the government from fraud are between

     $233 and $521 billion. These numbers are truly staggering—billions and billions in hard-

     earned American taxpayer dollars are being misspent every year. GAO highlighted a number

     of steps that Congress and federal agencies could take to help reduce fraud and improper

     payments, including that “[a]gencies should improve oversight to ensure that funds aren’t

     paid to ineligible recipients” and that “[a]gencies should improve their collection and use of

     data for preventing and detecting fraud.”

  9. Similarly, GAO has identified areas for improvement in BFS’s systems related to identifying

     and tracing transactions to determine whether they were complete and properly recorded in

     the correct general ledger accounts and line items within the Schedules of the General Fund.

     See GAO Report, “Financial Statement Audit: Bureau of the Fiscal Service’s FY22

     Schedules of the General Fund” (March 30, 2023). Specifically, GAO has found inconsistent

     reporting, lack of traceability, and need for improved controls with the Treasury’s Central

     Accounting and Reporting System (CARS), which federal agencies use to track their

     spending for budgetary and accounting purposes. These kinds of improvements and others

     can enhance BFS’s ability to ensure accountability in the spending of taxpayer dollars.

  10. BFS is well positioned to help agencies and the federal government holistically understand

     and take stock of the problems GAO has reported on, and assist agencies in the government-

     wide mission to stop fraudulent and improper payments, including by enhancing our ability



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     to help agencies identify payments that may potentially be directed to fraudulent accounts,

     payments to individuals or entities which may be barred from receiving government

     payments, payments that are potentially improperly sent to deceased individuals, may have a

     mismatch between payee and account data, or have other indicators of problems.

  11. For this reason, an important aspect of the President’s DOGE efforts has been to quickly

     place me into the Treasury Department so I can understand how BFS’s end-to-end payment

     systems and financial report tools work, recommend ways to update and modernize those

     systems to better identify potentially improper and fraudulent payments, and find ways for

     BFS to assist federal agencies in responding to statutes, regulations, and Executive Orders

     that affect the Government’s payment authorities and spending priorities.

  12. As soon as I arrived at the Treasury Department, I met with Treasury leadership to begin

     operationalizing the Treasury DOGE Team’s work. This early work included: (1) initiating

     conversations with BFS regarding our shared payment integrity and efficiency goals, and

     setting up a plan to achieve those goals; and (2) ensuring that the Treasury DOGE Team was

     leveraging its unique technological expertise to help operationalize the President’s policy

     priorities for the early days of the Administration, including by helping identify payments

     that may be improper under his new Executive Orders.

  13. Coming out of these early conversations, on January 26, 2025, BFS initiated a 4-6 week

     payment process engagement plan (“engagement”) in which BFS would support the Treasury

     DOGE Team in understanding payment processes and identifying opportunities to advance

     payment protection, government efficiency, and fraud reduction goals. The objective of the

     engagement is to gain insight into the full, end-to-end payment process across multiple BFS




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     payment systems, and to identify data gaps that, if resolved, would make the system to work

     more efficiently and securely.

  14. One initial goal of the engagement was to ensure that all payments through BFS’s payment

     systems included Treasury Account Symbols (TAS) and Business Event Type Codes

     (BETCs), which are used to identify what type of payment and accounts each payment

     request is associated with. These are the kinds of enhanced controls suggested in the March

     30, 2023 GAO Report. BFS has three separate primary payments systems (PAM, ASAP,

     ITS.gov) that support payments on behalf of nearly 250 agencies. These payment systems

     feed into CARS, which is a system that agencies use to track how payments should be

     accounted for budgetary purposes. PAM, or Payment Automation Manager, is the most

     widely used of BFS’s payment systems. Within PAM, there are two types of payments,

     known as Type A and Type B—Type A is for high value, low volume payments, while Type

     B applies to lower value, higher volume payments. At present, a significant number of Type

     B payments are often missing TAS and BETC codes, meaning that payor agencies are

     required to modify the payment records in CARS well after payments have been certified and

     processed. As a result, I believe that certain of these payments cannot be accounted for

     accurately in CARS, and cannot be correctly connected in CARS to particular programs or

     purposes even after the money has been spent. The Treasury DOGE Team agreed to help

     address this issue as part of its preliminary work plan, in support of its goal of modernizing

     and identifying efficiencies.

  15. Because an important part of our work was to understand the full end-to-end payment

     process, across multiple payment systems, this work required review of the source code for

     BFS’s payment systems and databases across multiple BFS payment systems as well as the


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         ability to review sensitive payment data. The Treasury Secretary, through his Chief of

         Staff, approved the engagement in the early days of the new Administration. Because

         such access could present risks, including potential disruptions to BFS’s payments

         systems, cybersecurity vulnerabilities, insider threat risks, and other risks that are inherent

         to any user access to sensitive IT systems, BFS recommended multiple mitigation

         measures. While these measures could not fully guarantee that the risks would not

         materialize, they would significantly reduce their likelihood. BFS and the DOGE Team

         implemented a number of mitigation measures, including physical and technical controls,

         instructions on proper data handling and safeguarding, and BFS staff oversight, to protect

         sensitive data and minimize the potential of disruptions to systems from the DOGE

         Team’s work, as further explained in the accompanying Declaration of Joseph Gioeli.

      16. The engagement remains in its initial stages—the Treasury DOGE Team was still in the

         process of being granted the agreed-upon levels of access to BFS databases and source

         code when Mr. Elez resigned. To my knowledge, as of the date of his resignation, Mr.

         Elez had access to and was analyzing copies of the source code for certain BFS payment

         systems in a secure, contained environment that was not connected to any production or

         test environments; thus, Mr. Elez had no ability to change BFS payments or the BFS

         payment system. Further, Mr. Elez had read-only access to the PAM and SPS 3 payment

         databases, subject to the agreed-upon mitigations and BFS oversight. My only access to

         these systems was so-called “over the shoulder” access to watch as other people were

         working within the systems or with data from the system. However, on February 8, 2025,



  3
    As noted in the Gioeli Declaration, I understand from BFS that there was briefly an error that provided Mr. Elez
  read/write access to the SPS system, but that Mr. Elez did not access that system during that time, and was likely
  unaware that he had any such read/write access.


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      an Order issued by Judge Vargas in a related matter in the Southern District of New York,

      see State of New York v. U.S. Dep’t of Treasury, No. 1:25-cv-1144-JAV (S.D.N.Y.), Dkt.

      No. 6, as amended by Dkt. No. 28 (Feb. 11, 2025), restricted my access to certain BFS

      data and systems. I have received guidance on compliance with that Order from Treasury

      attorneys and am complying with that guidance.

   17. As part of the Treasury DOGE Team’s efforts to assist payor agencies in identifying

      payments that may have been improper under the President’s Executive Orders, we

      received direction from Treasury leadership that the Treasury DOGE Team and BFS help

      agencies effectuate the President’s Executive Orders requiring pauses to certain types of

      financial transactions, including with respect to foreign development assistance.

      Specifically, under the President’s January 20, 2025 Executive Order, entitled

      “Reevaluating and Realigning United States Foreign Aid,” the President required that

      agencies pause all foreign development assistance for assessment of programmatic

      efficiencies and consistency with United States foreign policy. Section 3(e) of the order

      authorized the Secretary of State to issue waivers that would authorize specific payment

      programs to move forward notwithstanding the pause.

   18. The Treasury DOGE Team, with assistance from BFS, was well positioned to facilitate

      the State Department’s review of potentially applicable payments to determine if an

      exemption under Section 3(e) applied. Upon direction from Treasury leadership, we

      worked with BFS to identify particular categories of payments potentially implicated by

      the Executive Order, that should be reviewed by the State Department prior to payment,

      consistent with the Executive Order’s requirements.

   19. Specifically, the Treasury DOGE Team and BFS developed a process that would allow




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      the State Department to review such payments prior to the payor agency’s certification

      of the payments for BFS processing. In the normal course, when an agency initially

      provides a payment file to BFS through its PAM system, BFS conducts certain reviews

      of that file (known as “pre-edit”) before requesting that the agency certify the payment,

      after which point the file is processed through BFS’s systems. An example of a check

      that occurs during the pre-certification phase is to compare the payments in the file

      against the Do Not Pay working system, which is used to identify payments that may be

      improper or fraudulent. If transaction(s) in a payment file lead to a match when

      screened through the Do Not Pay working system, BFS notifies the submitting agency,

      which is given an opportunity to reexamine the payment file to determine whether to

      ultimately certify it for processing.

   20. Our work to implement the President’s foreign aid Executive Order was intended to

      operate similarly. The plan we implemented included identifying payments files in the

      pre-edit phase, prior to certification and processing, that may fall within the scope of the

      Executive order and, thus, require review by the State Department, as the authorized

      agency under the Executive Order, to determine whether they fall within the scope of the

      Executive Order but should receive a waiver, or whether instead the payor agency should

      pause the payment pursuant to the Executive Order.

   21. Starting on January 31, 2025, BFS and the Treasury DOGE Team collaborated to

      operationalize this process for the State Department, by identifying incoming payments

      that matched certain Treasury Account Symbols (TAS) associated with foreign aid

      payments, and flagging those payments for the State Department for review consistent

      with the Executive Order. BFS and the Treasury DOGE Team emphasized to the State



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      Department that its review of identified payments should be conducted within one

      business day to minimize delays where payment should be authorized. At no point did

      BFS refrain from transmitting a payment that had been duly certified by the payor agency,

      because, once certified, BFS is obliged to process the payment. As described further in the

      Declaration of Vona S. Robinson filed concurrent with my declaration, only two sets of

      payments have thus far been flagged through this process; the first, on February 7, 2025

      was determined by the State Department not to fall within the scope of the Executive

      Order. Those payments proceeded as planned. The second, on February 10, was flagged

      for the State Department and later canceled by the requesting agency.




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